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                                                                                                        E-FILED
                                                                         Tuesday, 14 July, 2020 09:52:32 AM
                                                                              Clerk, U.S. District Court, ILCD

                           IN THE UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF ILLINOIS
                                      PEORIA DIVISION

 JANE DOE, individually and on behalf of all
 others similarly situated,
                                                     Case Number: ________________________
                       Plaintiff,

 v.                                                        JURY TRIAL DEMANDED

 BRADLEY UNIVERSITY, an Illinois not-
 for-profit corporation,

                       Defendant.


                  CLASS ACTION COMPLAINT AND JURY DEMAND

       Plaintiff Jane Doe, individually and on behalf of all others similarly situated (the “Class”),

alleges the following based upon personal knowledge as to herself, and upon information, belief

and the investigation of her counsel as to all other matters, brings this class action against

Defendant Bradley University (“Bradley”), and alleges as follows:

                               I.      INTRODUCTION

       1.     This class action seeks a prorated disgorgement of the unearned profits from the

Spring 2020 Semester. Bradley unjustly profited by withholding collected sums during the

COVID-19 pandemic by failing to issue any refunds or other reimbursements to Plaintiff and the

Class where it (a) failed to provide any classes at all for one week (March 23, 2020 - March 29,

2020) of the 15-week Spring 2020 Semester; (b) closing on-campus facilities, services,

technologies and events for much of the Spring 2020 Semester (March 23, 2020 - May 15, 2020);

and (c) changing in-person classroom instruction to an online only format for nearly 50% of the

Spring 2020 Semester (March 30, 2020 - May 15,2020). Bradley’s decision to take these actions

to the detriment of its student body in response to COVID-19 pandemic was unjust where it



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accepted and retained full tuition and mandatory fees for the entire 15 weeks of in-classroom

instruction and use of on-campus facilities, resources, and services.

       2.      Plaintiff and the Class entered into a contractual agreement for the Spring 2020

Semester with Bradley, the terms of which are set forth in the 2019-2020 Undergraduate Catalog

(“Catalog”), where Bradley agreed to provide 15 weeks of in-person classroom instruction, and

the use of on-campus facilities, resources, opportunities, events, and technologies in exchange for

payment by Plaintiff and the Class in the form of tuition and mandatory fees. In fact, the Catalog

itself declares that it is the governing contract between students and Bradley, “[t]his catalog serves

as a contract between a student and Bradley University.” 1

       3.      Despite Bradley sending students home and closing its campus, Bradley continued

to charge Plaintiff and the Class for tuition and mandatory fees as instruction and services were

being provided and continuing to reap the financial benefit of millions of dollars from students.

While Plaintiff and the Class contracted and paid Bradley for a comprehensive academic

experience, Bradley provided Plaintiff and the Class something far less: a limited online

experience presented by Google or Zoom, void of face-to-face faculty and peer interaction,

separated from program resources, and barred from facilities vital to study. Plaintiff and the Class

did not bargain for such an experience in their contracts with Bradley.

       4.      As a result of Bradley’s breach of contract, Plaintiff and the Class have been

financially damaged by Bradley. They did not receive the full value of services paid under their

contracts with Bradley, and lost the benefit of their bargain and/or suffered out-of-pocket losses,

and are entitled to recover compensatory damages.



1
 https://web.archive.org/web/20191016203123/https://www.bradley.edu/academic/undergradcat/
20192020/ (Last visited: July 10, 2020).



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                          II.     JURISDICTION AND VENUE

        5.      This Court has jurisdiction over this action pursuant to the Class Action Fairness

Act of 2005, 28 U.S.C. §1332(d), because at least one Class member is of diverse citizenship from

one Defendant, there are more than 100 Class members, and the aggregate amount in controversy

exceeds $5,000,000, exclusive of interest, and costs. This Court also has supplemental jurisdiction

over the state law claims alleged herein pursuant to 28 U.S.C. §1367.

        6.      The Court has personal jurisdiction over Defendant because it maintains its

principal place of business in this District.

        7.      Pursuant to 28 U.S.C. §1391(b)(1), venue is proper in this District because

Defendant resides in this District and is a resident of Illinois.

                                      III.      PARTIES

        8.      Plaintiff Jane Doe is a resident and citizen of the State of Illinois. Plaintiff is

enrolled as an undergraduate nursing major at Bradley.

        9.      Defendant Bradley is a private university organized under the Illinois General Not

for Profit Corporation Act, 805 ILCS, et seq., with its principal place of business in Peoria, Illinois.

                           IV.     FACTUAL ALLEGATIONS

A.      Bradley’s Marketing

        10.     Bradley is a private, non-profit college that has 5,400 undergraduate and graduate

students in more than 185 academic programs located in Peoria, Illinois.

        11.     While many colleges and universities nationwide offer and highlight remote

learning capabilities as a primary component of their efforts to provide educational value, such as

Western Governors University, Southern Hampshire University, and University of Phoenix-

Arizona, Bradley is not such a school.




                                                   3
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        12.     Instead, Bradley focuses its marketing and recruiting efforts on the on-campus

experiences it offers along with a personalized in-person classroom experience, citing a 12-to-1

student-to-faculty ratio to accomplish such personal interactions and collaborations. 2

        13.     For example, Bradley attracts students by marketing, “[o]pportunities and resources

of a larger university and the personal attention and exceptional learning experience of a smaller

university.”3 Bradley further boasts about the individualized in-person experience it offers to

students:

        We are a community that ensures student access to an individualized
        learning experience. This is characterized by broad opportunities for students to
        marry their passions and skills, by innovative academic programming, and by
        an exceptional level of engagement between students, staff and faculty, such that
        all students acquire the skills and dispositions essential to purposeful and
        productive living.4

        14.     As another example, on Bradley’s website for its mission statement, Bradley

highlights the hands-on individualized attention that it markets:

        We are a community that prioritizes academic excellence by nurturing critical
        inquiry, research, creativity and technical skills development. We work
        collaboratively to engage learners in high-impact practices, in scholarship, and
        in leadership development opportunities in order to foster lives of purpose and
        advance a better world.5

        15.     Bradley further markets the opportunities its small campus and in person instruction

offers to its students:

        Mid-Sized. Big Difference. When you choose Bradley University, you don’t have
        to choose between the activities and resources of a larger university and the
        personal attention and exceptional learning experiences of a smaller college. Our
        size- about 5,400 students- gives you the best of both worlds.” 6



2
  https://www.bradley.edu/ (Last visited: July 10, 2020).
3
  https://www.bradley.edu/(Last visited: July 10, 2020).
4
  https://www.bradley.edu/about/mission/ (Last visited: July 10, 2020).
5
  https://www.bradley.edu/about/mission/ (Last visited: July 10, 2020).
6
  https://www.bradley.edu/ (Last visited: July 10, 2020).


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         16.     Further marketing efforts focus on Bradley’s facilities to highlight the on-campus

experiences Bradley provides to students on-campus:

         Whether it’s a snack in Michel Student Center, a concert at Renaissance Coliseum,
         games with friends at Late Night BU, multicultural activities or a student
         organization service project, Bradley University’s campus is always busy with fun
         activities.7

         The Markin Family Student Recreation Center features a swimming pool, indoor
         track, basketball courts, rock climbing wall, fitness classes, racquetball and more.
         Intramurals, club sports and fitness classes are available throughout the year. 8

         1.      Jane Doe’s Recruitment to Bradley

         17.     Plaintiff desired to be a nurse after college education.

         18.     While in high school, Plaintiff researched more about Bradley to see if that was

truly the university that would be best for her career goals. While reviewing Bradley’s website and

making an on-campus visit, Plaintiff was given assurances and evidence of the level of hands-on

in-person learning and small class sizes Bradley offered to its students. Particularly, Plaintiff was

promised in Bradley’s marketing that it would provide on-campus facilities and technologies that

offer students the chance to work hands-on with state-of-the-art equipment with the oversight of

in-person classroom instructors.

         19.     Plaintiff was also promised that Bradley would provide in-person networking

opportunities, student organizational events, and other on and off campus activities sponsored by

Bradley.

         20.     Plaintiff’s intended pursuit of a degree in nursing would be well realized in the

environment that was represented to her on Bradley’s marketing materials and on her in-person

tour of Bradley. Plaintiff decided that for the reasons explained above, she would apply to Bradley.



7
    https://www.bradley.edu/campuslife/ (Last visited: July 10, 2020).
8
    https://www.bradley.edu/campuslife/ (Last visited: July 10, 2020).


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         21.    Plaintiff and her family received an acceptance letter from Bradley, and Plaintiff

choose to attend Bradley starting with the Fall 2019 semester.

B.       Plaintiff and Class Members Contracted with Bradley to Provide In-Person
         Classroom Instruction and Access to all On-Campus Facilities, Resources,
         Technologies, and Events

         22.    Plaintiff and the Class entered into a contractual agreement with Bradley where

Plaintiff and the Class would provide payment in the form of tuition and mandatory fees to

Bradley, and in exchange, Bradley would provide in-person classroom instruction, and access to

on-campus facilities, resources, technologies, and events for the Spring 2020 Semester, which was

January 22, 2020 through May 15, 2020.

         23.    The terms of the contractual agreements between Plaintiff and the Class with

Bradley were set forth in publications from Bradley, including the Catalog. The Catalog, for both

undergraduate and graduate students, is clear that it is the governing contract between Plaintiff and

Class Members and Bradley for the Spring 2020 Semester:

         This is the official catalog for the 2019-2020 academic year. This catalog serves
         as a contract between a student and Bradley University. Should changes in a
         program of study become necessary prior to the next academic year every effort
         will be made to keep students advised of any such changes via the Dean of the
         College or Chair of the Department concerned, the Registrar’s Office, u.Achieve
         degree audit system, and the Schedule of Classes. It is the responsibility of each
         student to be aware of the current program and graduation requirements for
         particular degree programs.9

Exhibit A (emphasis added).

         24.    The Catalog contains the following categories of content:

                                      General Information
    Bradley University                               Our Vision and Mission
    Founding of Bradley                              Academic Calendar (On Campus)

9
 https://web.archive.org/web/20191016203123/https://www.bradley.edu/academic/undergradcat/
20192020/ (Last visited: July 10, 2020).



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Fields of Study                                    Accreditation
Fees and Expenses                                  Financial Assistance
Housing                                            Safety and Security
Faculty                                            Emeritus
                                     Academic Regulations
Registration                                       Undergraduate Leave of Absence Policy
Credit Taken in Residence at Bradley               All-University Degree Requirements
Non-Resident Credit                                Majors, Concentrations, and Minors
Grades                                             Academic Ombudsman
Undergraduate Scholastic Probation,                Breach of Academic Integrity
Dismissal, and Forgiveness Policies
Graduation                                         University Student Grievance Policy
Miscellaneous University Regulations
                                          Admissions
Freshman                                           Former Bradley Students
Students Not Pursuing a Degree                     Transfer Admission
Illinois Articulation Initiative                   International Students
Credit by Examination
                                   Special Academic Programs
Academic Exploration Program (AEP)                 Military Science
The University Experience course (EHS 120)
                                      Student Involvement
Campus Recreation and Athletic Facilities          Event Services
Student Activities                                 Campus Programming
   o Fraternity and Sorority Life
   o The Lewis J. Burger Center for
      Leadership and Service
Student Government                                 Student Organizations
                                        Student Affairs
Student Affairs                                    Diversity and Inclusion
Health Services/Counseling Center                  Off-Campus Properties
Residential Living and Student Conduct             Smith Career Center
Springer Center for Internships                    Student Involvement
Student Support Services
                                        Other Services
Bradley University Bookstore                       Computing Services
Learning, Design and Technology
                                   Foster College Of Business
Foster College of Business                         BUS Courses


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Accounting                                      Accounting Courses
Economics                                       Economics Courses
Entrepreneurship, Technology, and Law           Entrepreneurship, Technology, and Law
                                                Courses
Finance                                         Finance Courses
International Business Program                  International Business Courses
Management and Leadership                       Management and Leadership Courses
Marketing                                       Marketing Courses
                    Slane College Of Communications And Fine Arts
Slane College of Communications and Fine        CFA Courses
Arts
Fine Arts Minor                                 Art and Design
Art and Design Courses                          Communication
Communication Courses                           General Studies Major in Communications
                                                and Fine Arts
Interactive Media                               Interactive Media Courses
Music                                           Music Courses
Theatre Arts                                    Theatre Courses
                        College of Education and Health Sciences
College of Education and Health Sciences        EHS Courses
Education, Counseling, and Leadership           Education, Counseling, and Leadership
                                                Courses
Family and Consumer Sciences                    Family and Consumer Sciences Courses
Health Science                                  Health Science Courses
Minor in Health                                 Minor in Leadership
Nursing                                         Nursing Courses
Title II Report Card
                    Caterpillar College of Engineering and Technology
Caterpillar College of Engineering and          EGT Courses
Technology
Civil Engineering                               Civil Engineering Courses
Construction                                    Construction Courses
Electrical and Computer Engineering             Electrical Engineering Courses
Industrial Engineering                          Industrial and Manufacturing Engineering
                                                (IME) Courses
Manufacturing Engineering                       Manufacturing Engineering Technology
Manufacturing Engineering Technology            Mechanical Engineering
(IMT) Courses
Mechanical Engineering Courses                  Minors (IMET)
                           College of Liberal Arts and Sciences
College of Liberal Arts and Sciences            LAS Courses
SCI Courses                                     African-American Studies


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 African-American Studies Courses                   Anthropology
 Anthropology Courses                               Asian Studies
 Astronomy Courses                                  Biology
 Biology Courses                                    Chemistry and Biochemistry
 Chemistry Courses                                  Computer Science and Information Systems
 Computer Science Courses                           Computer Information Systems Courses
 Criminology                                        Criminology Courses
 Economics (LAS)                                    Economics Courses (FCB)
 English                                            English Courses
 Environmental Science Program                      Environmental Science Courses
 Ethics Minor                                       European Studies Program
 Geological Sciences Courses                        History
 History Courses                                    Interdisciplinary Major Program
 Institute of International Studies                 International Studies Courses
 Latin American Studies                             Mathematics
 Mathematics Courses                                Medical Laboratory Science Program
 Neuroscience Minor                                 Neuroscience Courses
 Philosophy                                         Philosophy Courses
 Physics                                            Physics Courses
 Political Science                                  Political Science Courses
 Legal Studies Minor                                Pre-Law Courses
 Psychology                                         Psychology Courses
 Religious Studies                                  Religious Studies Courses
 Sociology                                          Sociology Courses
 Social Work                                        Social Work Courses
 Sustainability Minor                               Western Civilization Courses
 Women’s and Gender Studies Program                 Women’s and Gender Studies Courses
 World Languages and Cultures                       World Languages Courses
                    Turner School Of Entrepreneurship And Innovation
 Minor in Entrepreneurship and Innovation           Entrepreneurial Scholar
 SEI Courses

       25.     The entire graduate and undergraduate Catalog comprise the terms and conditions

of the contract between Plaintiff and the Class and Bradley.

       26.     When Plaintiff and the Class entered into a contractual agreement with Bradley to

provide in-person classroom instruction, and access to on-campus facilities, resources,

technologies, and events for the Spring 2020 Semester, Plaintiff and Class Members viewed the

Catalog to make specific course selections prior to registering and paying for those selected




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courses. Plaintiff and Class Members also viewed the Catalog to view what on-campus facilities,

resources, technologies, and student organizations were offered for the Spring 2020 Semester prior

to paying tuition and mandatory fees for those amenities.

       27.     Plaintiff was a freshman nursing major for the Spring 2020 Semester. Thus, while

making specific course sections for the Spring 2020 Semester, Plaintiff viewed the Catalog and

went to the College of Education and Health Services Category, and clicked on the subcategory

titled Nursing:10




       28.     While under the Nursing subcategory, Plaintiff viewed the classes required by

Bradley for a nursing degree:


10
  https://web.archive.org/web/20191016203123/https://www.bradley.edu/academic/undergradcat
/20192020/ (Last visited: July 10, 2020).



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       29.     After viewing the required courses for Nursing, Plaintiff registered for those

courses in the Catalog by going to the Academic Regulations category in the Catalog and clicking

on the Registration subcategory: 11




11
  https://web.archive.org/web/20191016203123/https://www.bradley.edu/academic/undergradcat
/20192020/ (Last visited: July 10, 2020).



                                              11
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       30.     The Catalog also includes a category titled Student Involvement and Student

Affairs, whose subcategories describes Bradley’s facilities, resources, services, and events offered

for Spring 2020 Semester:




       31.     For example, the Campus Recreation and Athletic Facilities subcategory describes

some of the facilities available that were supposed to be available to Plaintiff and the Class during

the Spring 2020 Semester as part of the “Activity Fee” charged to Plaintiff and the Class:



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       Campus Recreation provides a variety of programs to meet the recreational needs
       of all students. The Markin Family Student Recreation Center is a multi-use indoor
       facility. The center provides opportunities for intramural events, sports and fitness
       classes, and unscheduled, informal activity. It has exercise and fitness equipment,
       an indoor pool, two racquetball courts, a rock climbing wall that stands 46 feet, a
       bouldering wall, a Multi-Activity Court (MAC court), a 1/8-mile running/walking
       track, and a juice bar. It has four basketball courts for intramural and recreational
       games and a championship court, which seats about 300 and will be used for,
       among other things, hosting championship intramural events. The intramural sports
       calendar includes 25 different events.12

       32.     The Health Services/ Counseling Center subcategory in the Catalog describes what

health services were available for the Spring 2020 Semester that the Health Fee charged to Plaintiff

and the Class funds:

       Student Health Services is an outpatient clinic that provides service to enrolled
       Bradley students who experience health problems. Students are assisted through
       advisement, treatment, consultations with health providers, and referral for
       extended treatment if necessary. While there is no charge for most on-site
       treatment, services provided through referral to outside agencies are charged by that
       care provider and are the student’s financial responsibility. The Center’s qualified
       staff of physicians, psychiatrist, counselors, and nurses is located in modern
       treatment offices in the Markin Center. They provide a point-of-entry for all
       university students to receive health care both at the Center and in the Peoria
       community. Professional counselors and supportive staff are trained to work with
       Bradley students in their growth and total development—social, emotional,
       intellectual, physical, spiritual, and occupational—as well as the environment in
       which they live.13

       33.     Other subsections of the Catalog reference the in-person nature of each of Bradley’s

Spring 2020 Semester course offerings. The “Bradley University” subsection asserts that, “[t]he

Wall Street Journal/Times Higher Education continues to recognize Bradley among the top 15

schools in the U.S. for student engagement.” 14



12
   https://www.bradley.edu/academic/undergradcat/20192020/overview-sarec.dot (Last visited:
July 10, 2020).
13
       https://www.bradley.edu/academic/undergradcat/20192020/overview-sa-health-services.dot
(Last visited: July 10, 2020).
14
    https://www.bradley.edu/academic/undergradcat/20192020/overview-budescription.dot (Last
visited: July 10, 2020).


                                                  13
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       34.     Finally, the Catalog provides how much it was going to cost Plaintiff and the Class

in tuition and mandatory fees for the Spring 2020 Semester. Bradley assesses tuition and fees

depending on the student’s course of studies. For example, for the Spring 2020 Semester for

undergraduate students, the Catalog contained the following tuition and fees:




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       35.   For Spring 2020 Semester graduate students, Bradley imposed the following tuition

and fees:




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       36.     Such tuition and mandatory fees charged by Bradley to graduate and undergraduate

students are significantly higher than online only programs, including, upon information and

belief, the limited online programs Bradley currently offers.

       37.     Schools delivering an online-only educational experience assess significantly

discounted rates for delivering such educational services:

       Western Governor University15

               Tuition (per semester) - $3,225
               Resource Fee - $145
               Program Fee- $0

       Southern New Hampshire University 16
              Tuition (per semester) - $4,800
              Graduation Fee (one time) - $150




15
   https://www.wgu.edu/financial-aid-tuition/tuition-business-degrees.html (Last visited: July 10,
2020).
16
   https://www.snhu.edu/tuition-and-financial-aid/online (Last visited: July 10, 2020).


                                                 16
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       38.     Another example of the substandard nature of online education as compared to the

in-person instruction is evident from the University of Miami professor who had a pornographic

website purporting to feature college women open in his web browser during a virtual lecture. 17

C.     Bradley Billed Plaintiff for Spring 2020 Semester Tuition and Mandatory Fees

       39.     After Plaintiff registered for her Spring 2020 Semester classes, Bradley sent

Plaintiff a bill for Spring 2020 Semester tuition and mandatory fees, which is part of the contract

between Plaintiff and Bradley:

       Tuition                               $17,100.00
       Course Surcharges                     $25.00
       Activity Fee                          $85.00
       Health Fee                            $120.00
       Meal Plan- 120 Block Meals            $2,305.00
       Double Room Rate UNI                  $3,165.00
       Payment Plan Deferment Charge         $274.50
       Subtotal:                             $23,074.50

(Plaintiff’s Spring 2020 Semester bill).

       40.     As the Spring 2020 Semester bill evidences, Bradley charged Plaintiff and Class

Members: (a) an $85 Activity Fee to fund on-campus facilities, resources, technologies, and

events; (b) a $120 Health Fee for use of on-campus health services and facilities; and (c) a $25

Course Surcharge.

       41.     Certain undergraduate and graduate classes at Bradley possess a mandatory Course

Surcharge. For the Spring 2020 Semester, Plaintiff enrolled in an on-campus, in-person lab that

had a $25 mandatory Course Surcharge for enrollment.

       42.     Plaintiff paid her Spring 2020 Semester bill for tuition and mandatory fees in full.




17
   https://www.nbcnews.com/news/us-news/university-miami-professor-resigns-after-reportedly-
sharing-porn-bookmark-zoom-n1195746 (Last visited: July 10, 2020).



                                                17
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D.     Spring 2020 Semester

       43.     Bradley provided Plaintiff the in-person instruction, on-campus facility, resource,

and events use that it promised to provide Plaintiff and the Class in its Catalog contract and in its

marketing materials for the first portion of the Spring 2020 Semester.

       44.     However, once in the middle of the Spring 2020 Semester, Bradley failed to provide

those things that it marketed, contracted, and sold to Plaintiff and the Class.

       45.     Plaintiff and the Class contracted with Bradley to provide in-person classroom

instruction and access to on-campus facilities, faculty, supplies, resources, events, technologies,

and services for the entirety of the 15-week Spring 2020 Semester (January 22, 2020 - May 15,

2020) when they received a balance from Bradley for tuition and mandatory fees and made their

payments in full.

       46.     Regardless of whether the particular actions Bradley took were its chosen response

to COVID-19, the fact remains that such closures and cancellations present significant loss to

Plaintiff and the Class.

       47.     College and university students across the nation have provided insight into the loss

they have experienced as a result of the COVID-19 pandemic, highlighting the disparity between

students’ bargained-for educational experience and the experience that colleges and universities,

including Bradley, now provide in response to the COVID-19 pandemic.

       1.      Bradley Changed its In-Person Classroom Instruction to an Online Format

       48.     On March 12, 2020, Bradley sent an email communication to all students, facility,

and staff, to inform everyone that Bradley was eliminating one week of the 15-week Spring 2020

Semester and extending spring break by one week through the week of March 23, 2020 through

March 29, 2020. The email further informed that after the canceled week of class and campus




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closure, that all in-person classroom instruction would be moved by Bradley to an online only

format starting March 30, 2020, and that campus would be closed.

        49.      Thus, Plaintiff and the Class paid tuition and mandatory fees to Bradley for one

week of in-person class instruction and on-campus facilities, supplies, events, and services that

never actually occurred from March 23, 2020 through March 27, 2020. The Spring 2020 Semester

was not extended to provide for instruction in any manner.

        50.      By March 30, 2020, Bradley changed its in-person instruction of classes, and

transformed them into an online only class. In doing so, Plaintiff and students lost the hands-on

training, close instructor supervision, use of campus technologies and facilities, and all of the

benefits Plaintiff and the Class paid to Bradley for mandatory, course-specific fees (Bradley titles

them “Course Surcharges”), such as lab supplies, art supplies, facility use, materials, trips, software

programs, etc.

        51.      Moreover, once the classes returned from the one-week class cancellation (March

23, 2020 - March 29, 2020) in its new online format, the online learning options provided to

Plaintiff and the Class was subpar in practically every aspect, including lack of facilities, materials,

and access to faculty. Students were deprived of the opportunity for collaborative learning and in-

person dialogue, feedback, and critique. The remote learning options were in no way the equivalent

of the in-person education that Plaintiff and the Class contracted and paid for.

        52.      When classes were moved online, instructors failed to come close to fulfilling the

3 hours of class instruction that students paid for a particular class each week. For example, prior

to the transition from in person to online, Plaintiff received 15 hours per week of course instruction,

but after Bradley’s change to online instruction only, Plaintiff received an inferior level of

education, as instructors reduced the workload and instruction time.




                                                  19
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       53.     The above examples highlight the inferior nature of online classes when compared

to in-person instruction on the same course material. In-person instruction and online classes are

not equal learning experiences.

       2.      Closure of Bradley’s Campus and Facilities

       54.     In March 2020, Bradley also closed its campus and prevented students from

accessing all of its on-campus facilities and resources, including:

       (a)     the Markin Center, which is a 130,000 square foot building featuring
               Bradley’s fitness center, Late Night BU, counseling services, and health
               services;

       (b)     the campus library and the attendant computers and software programs;

       (c)     student housing and meal services; and

       (d)     the student center.

       3.      Plaintiff’s Spring 2020 Tuition and Fees

       55.     The $504.50 in mandatory fees that Plaintiff and the Class paid included: a $274.50

Payment Plan Deferment Charge; $85 Activity Fee; and $120 Health Fee. Additionally, certain

classes at Bradley require payment of a mandatory “Course Surcharges” to account for in-person

use of labs, materials, computers, software programs, and trips. For the Spring 2020 Semester,

Plaintiff paid a $25 Course Surcharge.

       56.     After Bradley closed its campus and facilities, Plaintiff did not have access to

campus technologies, facilities, and resources such as the library, fitness center, student center,

Bradley-sponsored events, health care center, and computer software programs despite paying a

fee to use those during the Spring 2020 Semester. Additionally, the $274.50 Payment Plan

Deferment Charge Fee Plaintiff paid was for 15 weeks of in-person classroom instruction, which

was changed to online classes and reduced to 14 weeks.




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        57.      The Course Surcharge fees Plaintiff and the Class paid diminished in value when

Bradley changed its in-person instruction to an online format because those fees went towards

course-specific labs, materials, supplies, and events that cannot be accessed or delivered remotely.

For example, Plaintiff could not access her lab after Bradley’s unilateral move to online classes,

despite paying a $25 Course Surcharge for her lab.

        58.      The remote online classes were in no way comparable to the in-person instruction

that was offered to Bradley students prior to the campus closure. This is especially true at a college

catered for a small class size, where hands-on, in-person instruction is part of the “experience” that

is marketed by Bradley, and is actually necessary for Plaintiff and the Class to learn the skills

necessary to be successful in their chosen fields of studies.

        59.      Plaintiff and the Class did not choose to attend an online institution of higher

learning, but instead chose to attend Bradley and enroll on an in-person basis.

        60.      The tuition and mandatory fees for in-person classes at Bradley are higher than

tuition and fees are higher than tuition and fees for other online institutions because such costs

cover not just the academic instruction, but encompass an entirely different experience which

includes, but is not limited to:

             Face-to-face interaction with professors, mentors, and peers;
             Access to facilities, such as, libraries, laboratories, computer labs, and study
              room;
             Student governance and student unions;
             Extra-curricular activities, groups, intramural sports, etc.;
             Student art, cultures, and other activities;
             Social development and independence;
             Hands on learning and experimentation; and
             Networking and mentorship opportunities.




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       4.      Bradley has Failed to Reimburse Students for One Week of No Classes and
               Seven Weeks of Online Class and Campus Closure

       61.     Bradley has not provided any refunds or other reimbursements for fees and tuition

paid for the Spring 2020 Semester, except for those who lived in campus housing and/or purchased

a meal plan:

       For those students who lived in the residence halls and SAC during the Spring 2020
       Semester, but are not currently living in those buildings, you will be issued a refund
       prorated at 44% of the housing and meal plans for the spring semester. We are
       diligently working through this process and plan to have the applicable credit
       amount reflected on each student’s billing statement by April 20. When the credit
       is applied to your student account, it will be used to offset any unpaid, outstanding
       tuition and fee charges. Any credit balance on your account will result in you being
       issued a check and it will be mailed to your home address on file. 18

       62.     While Bradley made some reimbursements for student housing and meal plans, it

made no provision for a reimbursement for the more critical losses suffered by its student body.

       63.     In fact, Bradley explicitly declared that it will not provide any refunds for Spring

2020 tuition or mandatory fees:

       Bradley will continue to offer instruction, deliver content and issue academic credit
       for the remainder of the spring semester. Full academic credit will be awarded in
       accordance with university academic standards. No tuition and fee adjustments will
       be made for the Spring 2020 Semester.19

       64.     Thus, despite Bradley providing reimbursement for room and board and meal plans

to Plaintiff, Bradley rejects any notion that it should refund a portion of the tuition and mandatory

fees paid for the Spring 2020 Semester by Plaintiff and the Class.




18
   https://www.bradley.edu/sites/coronavirus/communications/20200331family.dot (Last visited:
July 10, 2020).
19
   https://www.bradley.edu/sites/coronavirus/communications/20200331family.dot (Last visited:
July 10, 2020).


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       65.     The tuition and fees that Plaintiff and the Class paid for the Spring 2020 Semester

was based on Bradley providing in-classroom instruction, hands-on learning, instruction feedback

in person, providing events, college organizations, networking and use of campus facilities.

       66.     The and the Class have suffered actual damages in the following ways:

       (a)     Prorated tuition and fees paid for the one week of canceled classes;

       (b)     Prorated tuition and course instruction fees paid for in-person instruction versus
               online instruction for the last seven weeks of the Spring 2020 Semester; and

       (c)     Prorated fees paid for on-campus facilities, activities, supplies, resources, events,
               and technologies that were closed for the last 7 weeks of the Spring 2020 Semester.

       67.     Plaintiff seeks, for herself and the Class, for Bradley to disgorge the prorated

portion of tuition and mandatory fees at issue, proportionate to the amount of time that remained

in the Spring 2020 Semester when classes moved online and campus services and facilities ceased

being provided.

                       V.      CLASS ACTION ALLEGATIONS

       68.     Plaintiff brings this action as a class action pursuant to Rule 23(a), (b)(2), (b)(3),

and/or (c)(4) of the Federal Rules of Civil Procedure on behalf of herself and all others similarly

situated as members of the Class listed below:

       All persons enrolled at Bradley University for the Spring 2020 Semester who paid
       Bradley University, tuition and/or fees for in-person instruction and use of campus
       facilities, but were denied use of and/or access to in-person instruction and/or
       campus facilities.

       69.     Subject to additional information obtained through further investigation and

discovery, the foregoing Class definition may be expanded or narrowed by amendment or

superseded by Plaintiff’s motion for class certification.

       70.     Numerosity of the Class. The members of the Class are so numerous that their

individual joinder is impracticable. Plaintiff is informed and believes that there are, accordingly,



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at least several thousand members in the Class. Inasmuch as the Class members may be identified

through business records regularly maintained by Bradley and its employees and agents, the

number and identities of Class members can be ascertained. Members of the Class can be notified

of the pending action by e-mail and mail and supplemented by published notice, if necessary.

       71.     Commonality and Predominance of Common Questions of Law and Fact.

There are questions of law and fact common to the Class. These questions predominate over any

questions affecting only individual Class members. These common legal and factual issues

include, but are not limited to whether:

       (a)     whether Defendant accepted money from Plaintiff and the Class in exchange for
               the promise to provide services;

       (b)     whether Defendant has provided the services for which Plaintiff and the Class
               contracted;

       (c)     whether Plaintiff and the Class are entitled to a refund for the portion of the tuition
               and fees that was contracted for services that Defendant did not provide;

       (d)     whether Defendant has unlawfully converted money from Plaintiff and the Class;

       (e)     whether Defendant was unjustly enriched by retaining the fees and/or tuition of
               Plaintiff without providing the services or partially providing that the fees and/or
               tuition were supposed to cover;

       (f)     whether the tuition and fees charged by Bradley for in-person instruction are
               commensurate to online classes at Bradley;

       (g)     whether certification of the Class is appropriate under Rule 23;

       (h)     whether the Class is entitled to declaratory, equitable, or injunctive relief; and

       (i)     whether Plaintiff and the Class are entitled to damages and what are the proper
               measure of damages.

       72.     Typicality.    The claims of the representative Plaintiff are typical of the claims of

each member of the Class. Plaintiff, like other Class members, has sustained damages arising from

Defendant’s breach of contract, as alleged herein. The representative Plaintiff and the Class were

and are similarly or identically harmed by the same conduct by Defendant.


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       73.     Adequacy.      The representative Plaintiff will fairly and adequately represent and

protect the interests of the Class and has retained counsel who are experienced and competent trial

lawyers in complex litigation and class action litigation. There are no material conflicts between

the claims of the representative Plaintiff and the Class that would make class certification

inappropriate. Counsel for the Class will vigorously assert the claims of all Class members.

       74.     Superiority. A class action is superior to all other available means for the fair and

efficient adjudication of this controversy. The damages or other financial detriment suffered by

individual Class members are relatively small compared to the burden and expense of individual

litigation of their claims against Defendant. It would, thus, be virtually impossible for the Class,

on an individual basis, to obtain effective redress for the wrongs committed against them.

Furthermore, even if the Class could afford such individualized litigation, the court system could

not. Individualized litigation would create the danger of inconsistent or contradictory judgments

arising from the same set of facts. Individualized litigation would also increase the delay and

expense to all parties and the court system from the issues raised by this action. By contrast, the

class action device provides the benefits of adjudication of these issues in a single proceeding,

economies of scale, and comprehensive supervision by a single court, and presents no unusual

management difficulties under the circumstances.

       75.     In the alternative, the Class may be certified because:

       (a)     The prosecution of sperate actions by individual Class members would create a risk
               of inconsistent or varying adjudications with respect to individual Class members
               that would establish incompatible standards of conduct for Bradley;

       (b)     Bradley has acted or refused to act on grounds generally applicable to the Class as
               a whole, thereby making appropriate final declaratory and/or injunctive relief with
               respect to members of the Class as a whole.




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                                            COUNT I
                                        Breach of Contract

       76.     Plaintiff and the Class repeat and re-allege the allegations in paragraphs 1 through

75 above, as if fully alleged herein.

       77.     Plaintiff brings this claim individually and on behalf of the members of the Class

against Bradley.

       78.     Plaintiff and the Class entered into identical binding contracts with Bradley where

Plaintiff and Class would provide payment in the form of tuition and mandatory fees to Bradley,

and in exchange, Bradley would provide in-person classroom instruction, and access to on-campus

facilities, resources, technologies, and events for the Spring 2020 Semester, which was January

22, 2020 through May 15, 2020.

       79.     The terms of the contractual agreements between Plaintiff and the Class with

Bradley were set forth in publications from Bradley, including the Catalog. The Catalog, for both

undergraduate and graduate students, is clear that it is the governing contract between Plaintiff and

Class Members and Bradley for the Spring 2020 Semester:

       This is the official catalog for the 2019-2020 academic year. This catalog serves
       as a contract between a student and Bradley University. Should changes in a
       program of study become necessary prior to the next academic year every effort
       will be made to keep students advised of any such changes via the Dean of the
       College or Chair of the Department concerned, the Registrar’s Office, Achieve
       degree audit system, and the Schedule of Classes. It is the responsibility of each
       student to be aware of the current program and graduation requirements for
       particular degree programs.20

Exhibit A (emphasis added).

       80.     The Catalog contains the following categories of content:

                                        General Information

20
  https://web.archive.org/web/20191016203123/https://www.bradley.edu/academic/undergradcat
/20192020/


                                                 26
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Bradley University                              Our Vision and Mission
Founding of Bradley                             Academic Calendar (On Campus)
Fields of Study                                 Accreditation
Fees and Expenses                               Financial Assistance
Housing                                         Safety and Security
Faculty                                         Emeritus
                                     Academic Regulations
Registration                                    Undergraduate Leave of Absence Policy
Credit Taken in Residence at Bradley            All-University Degree Requirements
Non-Resident Credit                             Majors, Concentrations, and Minors
Grades                                          Academic Ombudsman
Undergraduate Scholastic Probation,             Breach of Academic Integrity
Dismissal, and Forgiveness Policies
Graduation                                      University Student Grievance Policy
Miscellaneous University Regulations
                                          Admissions
Freshman                                        Former Bradley Students
Students Not Pursuing a Degree                  Transfer Admission
Illinois Articulation Initiative                International Students
Credit by Examination
                                   Special Academic Programs
Academic Exploration Program (AEP)              Military Science
The University Experience course (EHS 120)
                                      Student Involvement
Campus Recreation and Athletic Facilities       Event Services
Student Activities                              Campus Programming
   o Fraternity and Sorority Life
   o The Lewis J. Burger Center for
      Leadership and Service
Student Government                              Student Organizations
                                        Student Affairs
Student Affairs                                 Diversity and Inclusion
Health Services/Counseling Center               Off-Campus Properties
Residential Living and Student Conduct          Smith Career Center
Springer Center for Internships                 Student Involvement
Student Support Services
                                        Other Services
Bradley University Bookstore                    Computing Services
Learning, Design and Technology



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                                 Foster College Of Business
Foster College of Business                    BUS Courses
Accounting                                    Accounting Courses
Economics                                     Economics Courses
Entrepreneurship, Technology, and Law         Entrepreneurship, Technology, and Law
                                              Courses
Finance                                       Finance Courses
International Business Program                International Business Courses
Management and Leadership                     Management and Leadership Courses
Marketing                                     Marketing Courses
                    Slane College Of Communications And Fine Arts
Slane College of Communications and Fine       CFA Courses
Arts
Fine Arts Minor                                Art and Design
Art and Design Courses                         Communication
Communication Courses                          General Studies Major in Communications
                                               and Fine Arts
Interactive Media                              Interactive Media Courses
Music                                          Music Courses
Theatre Arts                                   Theatre Courses
                        College of Education and Health Sciences
College of Education and Health Sciences      EHS Courses
Education, Counseling, and Leadership         Education, Counseling, and Leadership
                                              Courses
Family and Consumer Sciences                  Family and Consumer Sciences Courses
Health Science                                Health Science Courses
Minor in Health                               Minor in Leadership
Nursing                                       Nursing Courses
Title II Report Card
                    Caterpillar College of Engineering and Technology
Caterpillar College of Engineering and         EGT Courses
Technology
Civil Engineering                              Civil Engineering Courses
Construction                                   Construction Courses
Electrical and Computer Engineering            Electrical Engineering Courses
Industrial Engineering                         Industrial and Manufacturing Engineering
                                               (IME) Courses
Manufacturing Engineering                      Manufacturing Engineering Technology
Manufacturing Engineering Technology           Mechanical Engineering
(IMT) Courses
Mechanical Engineering Courses                 Minors (IMET)



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                             College of Liberal Arts and Sciences
 College of Liberal Arts and Sciences             LAS Courses
 SCI Courses                                      African-American Studies
 African-American Studies Courses                 Anthropology
 Anthropology Courses                             Asian Studies
 Astronomy Courses                                Biology
 Biology Courses                                  Chemistry and Biochemistry
 Chemistry Courses                                Computer Science and Information Systems
 Computer Science Courses                         Computer Information Systems Courses
 Criminology                                      Criminology Courses
 Economics (LAS)                                  Economics Courses (FCB)
 English                                          English Courses
 Environmental Science Program                    Environmental Science Courses
 Ethics Minor                                     European Studies Program
 Geological Sciences Courses                      History
 History Courses                                  Interdisciplinary Major Program
 Institute of International Studies               International Studies Courses
 Latin American Studies                           Mathematics
 Mathematics Courses                              Medical Laboratory Science Program
 Neuroscience Minor                               Neuroscience Courses
 Philosophy                                       Philosophy Courses
 Physics                                          Physics Courses
 Political Science                                Political Science Courses
 Legal Studies Minor                              Pre-Law Courses
 Psychology                                       Psychology Courses
 Religious Studies                                Religious Studies Courses
 Sociology                                        Sociology Courses
 Social Work                                      Social Work Courses
 Sustainability Minor                             Western Civilization Courses
 Women’s and Gender Studies Program               Women’s and Gender Studies Courses
 World Languages and Cultures                     World Languages Courses
                    Turner School Of Entrepreneurship And Innovation
 Minor in Entrepreneurship and Innovation         Entrepreneurial Scholar
 SEI Courses

       81.     The entire graduate and undergraduate Catalog make up the terms and conditions

of the contract between Plaintiff and the Class and Bradley.

       82.     When Plaintiff and the Class entered into a contractual agreement with Bradley for

providing in-person classroom instruction, and access to on-campus facilities, resources,




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technologies, and events for the Spring 2020 Semester, Plaintiff and the Class viewed the Catalog

to make specific course selections prior to registering and paying for those selected courses.

Plaintiff and the Class also viewed the Catalog to view what on-campus facilities, resources,

technologies, and student organizations were offered for the Spring 2020 Semester prior to paying

tuition and mandatory fees for those amenities.

       83.     Plaintiff was a freshman nursing major for the Spring 2020 Semester. Thus, while

making specific course sections for the Spring 2020 Semester, Plaintiff viewed the Catalog and

went to the College of Education and Health Services Category, and clicked on the subcategory

titled Nursing:21




       84.     While under the Nursing subcategory, Plaintiff viewed the classes required by

Bradley for a nursing degree:


21
  https://web.archive.org/web/20191016203123/https://www.bradley.edu/academic/undergradcat
/20192020/ (Last visited: July 10, 2020).


                                                  30
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       85.     After viewing the required courses for Nursing, Plaintiff registered for those

courses in the Catalog by going to the Academic Regulations category in the Catalog and clicking

on the Registration subcategory: 22




22
  https://web.archive.org/web/20191016203123/https://www.bradley.edu/academic/undergradcat
/20192020/ (Last visited: July 10, 2020).


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       86.     The Catalog also includes a category titled Student Involvement and Student

Affairs, whose subcategories describes Bradley’s facilities, resources, services, and events offered

for Spring 2020 Semester:




       87.     For example, the Campus Recreation and Athletic Facilities subcategory describes

some of the facilities available that were supposed to be available to Plaintiff and the Class during

the Spring 2020 Semester that part of the “Activity Fee” charged to Plaintiff and the Class:



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       Campus Recreation provides a variety of programs to meet the recreational needs
       of all students. The Markin Family Student Recreation Center is a multi-use indoor
       facility. The center provides opportunities for intramural events, sports and fitness
       classes, and unscheduled, informal activity. It has exercise and fitness equipment,
       an indoor pool, two racquetball courts, a rock climbing wall that stands 46 feet, a
       bouldering wall, a Multi-Activity Court (MAC court), a 1/8-mile running/walking
       track, and a juice bar. It has four basketball courts for intramural and recreational
       games and a championship court, which seats about 300 and will be used for,
       among other things, hosting championship intramural events. The intramural sports
       calendar includes 25 different events.23

       88.     The Health Services/ Counseling Center subcategory in the Catalog describes what

health services were available for the Spring 2020 Semester that the Health Fee charged to Plaintiff

and Class Members funds:

       Student Health Services is an outpatient clinic that provides service to enrolled
       Bradley students who experience health problems. Students are assisted through
       advisement, treatment, consultations with health providers, and referral for
       extended treatment if necessary. While there is no charge for most on-site
       treatment, services provided through referral to outside agencies are charged by that
       care provider and are the student’s financial responsibility. The Center’s qualified
       staff of physicians, psychiatrist, counselors, and nurses is located in modern
       treatment offices in the Markin Center. They provide a point-of-entry for all
       university students to receive health care both at the Center and in the Peoria
       community. Professional counselors and supportive staff are trained to work with
       Bradley students in their growth and total development—social, emotional,
       intellectual, physical, spiritual, and occupational—as well as the environment in
       which they live.24

       89.     Other subsections of the Catalog reference the in-person nature of each of Bradley’s

Spring 2020 Semester course offerings. The “Bradley University” subsection asserts that, “[t]he

Wall Street Journal/Times Higher Education continues to recognize Bradley among the top 15

schools in the U.S. for student engagement.” 25



23
   https://www.bradley.edu/academic/undergradcat/20192020/overview-sarec.dot (Last visited:
July 10, 2020).
24
       https://www.bradley.edu/academic/undergradcat/20192020/overview-sa-health-services.dot
(Last visited: July 10, 2020).
25
    https://www.bradley.edu/academic/undergradcat/20192020/overview-budescription.dot (Last
visited: July 10, 2020).


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       90.     Finally, the Catalog provides the cost to Plaintiff and the Class in tuition and

mandatory fees for the Spring 2020 Semester. Bradley assesses students’ tuition and fees

depending on their course of studies. For example, for the Spring 2020 Semester for undergraduate

students, the Catalog contained the following tuition and fees:




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       91.   For Spring 2020 Semester graduate students, Bradley imposed the following tuition

and fees:




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       92.     Such tuition and mandatory fees charged by Bradley to graduate and undergraduate

students are significantly higher than online only programs.

       93.     As part of their Catalog contracts with Bradley, and in exchange for adequate

consideration that Plaintiff and the Class provided, Bradley promised to provide in-person

classroom instruction and on-campus services, technologies, facilities, events, resources, and

supplies during the Spring 2020 Semester.

       94.     Bradley failed to provide the in-person instruction and on-campus services,

technologies, facilities, events, resources, and supplies during the Spring 2020 Semester that they

were obligated to perform under their contracts with Plaintiff and the Class. Defendant retained

tuition and fees (Course Surcharges, Activity Fees, Payment Plan Deferment Charge, and Health

Fees) paid by Plaintiff and the Class for the Spring 2020 Semester without providing them the

promised benefits, which is a breach of contract of the Catalog contract.

       95.     By contrast, Plaintiff and the Class fulfilled their end of the bargain when they paid

monies due and owing for their full tuition and fees (Course Surcharges, Activity Fees, Payment

Plan Deferment Charge, and Health Fees) for the Spring 2020 Semester for in-person instruction



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and on-campus services, technologies, facilities, events, resources, and supplies during the Spring

2020 Semester.

       96.     The tuition and fees that Plaintiff and the Class paid were intended to cover in-

person classroom instruction and on-campus services, technologies, facilities, events, resources,

and supplies during the Spring 2020 Semester, from January 22, 2020 through May 15, 2020.

       97.     Bradley failed to provide the services due, as described in the Catalog contract,

under the entire time period of January 22, 2020 through May 15, 2020. From March 23, 2020

through March 29, 2020, Bradley suspended all classes to extend its spring break by one week,

and never made up that week of instruction. From March 30, 2020 through May 15, 2020 Bradley

changed the in-person instruction to an online format. Yet, Bradley improperly retained the fees

and tuition Plaintiff and the Class paid for the tuition and fees (Course Surcharges, Activity Fees,

Payment Plan Deferment Charge, and Health Fees), without providing them the services and other

benefits due under the contract, which is a breach of contract.

       98.     Plaintiff and the Class have suffered damage as a direct and proximate result of

Bradley’s breaches of the Catalog contract, including being deprived of the in-person instruction

and fees (Course Surcharges, Activity Fees, and Health Fees), and also on-campus services,

technologies, facilities, events, resources, and supplies during the Spring 2020 Semester that they

were promised and expected to obtain, and for which they have paid. They are entitled to damages,

including but not limited to, prorated reimbursement of the tuition, fees (Course Surcharges,

Activity Fees, Payment Plan Deferment Charge, and Health Fees), and other expenses that were

collected by Bradley for services that Bradley failed to deliver.




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       99.     Bradley’s performance under the contracts is not excused because of COVID-19.

Even if performance were excused or impossible, Bradley would nevertheless be required to return

the funds received for services and/or goods that it did not provide.

       100.    Therefore, Bradley should return a pro-rata share of the tuition and fees paid by

Plaintiff and the Class that relate to those in-person educational services and on-campus facilities,

resources, services, and events that were not provided after Bradley shut down.

                                           COUNT II
                              Restitution Based on Quasi-Contract

       101.    Plaintiff and the Class repeat and re-allege the allegations in paragraphs 1 through

75 above, as if fully alleged herein.

       102.    Plaintiff and the Class bring this claim in the alternative to the breach of contract

claim in Count I.

       103.    Plaintiff and the Class conferred a benefit on Defendant in the form of payments of

tuition and mandatory fees for the Spring 2020 Semester in exchange for certain services and

promises. Tuition for the Spring 2020 Semester was intended to cover in-person instruction for 15

weeks. In exchange for tuition monies paid, Plaintiff and the Class were entitled to in-person

classroom instruction and use of on-campus facilities, resources, events, and services through the

end of the Spring 2020 Semester.

       104.    Bradley voluntarily accepted and retained this benefit by accepting payment from

Plaintiff and the Class.

       105.    Bradley retained this benefit even though Bradley failed to provide the education,

experience, on-campus facilities, resources, events, and services for which the tuition and

mandatory fees were collected for, making Bradley’s retention unjust under the circumstances.

Accordingly, Bradley should return the pro-rated portion of any Spring 2020 Semester tuition and



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fees for education services not provided since Bradley shut down campus and changed in-person

instruction to online only in March 2020.

       106.    It would be unjust and inequitable for Bradley to retain the benefit of overpayments

conferred by Plaintiff and the Class.

       107.    Bradley should be required to disgorge all profits resulting from such overpayments

and establishment of a constructive trust from which Plaintiff and the Class may seek restitution.

                                            COUNT III
                                            Conversion

       108.    Plaintiff and the Class repeat and re-allege the allegations in paragraphs 1 through

75 above, as if fully alleged herein.

       109.    Plaintiff and the Class have a personal right to the in-person instruction and

application of fees (Course Surcharges, Activity Fees, Payment Plan Deferment Charge, and

Health Fees), which include on-campus services, technologies, facilities, events, resources, and

supplies during the Spring 2020 Semester they were supposed to be provided in exchange for their

payments of tuition and fees to Bradley.

       110.    Plaintiff and the Class have an absolute and unconditional right to immediate

possession of tuition and fees that were paid for in-person instruction and on-campus services,

technologies, facilities, events, resources, and supplies during the Spring 2020 Semester, but were

not actually provided because Bradley moved all classes to an online, remote-learning format and

discontinuing access to on campus technologies, facilities, events, resources, and supplies during

the Spring 2020 Semester, for which Plaintiff and the Class paid, including one week where there

was no instruction at all.




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       111.    Plaintiff and the Class demand a return of the pro-rated portion of any Spring 2020

Semester tuition and fees paid for education services not provided since Bradley closed its campus

and moved in-person instruction to online only in March 2020.

       112.    Defendant wrongfully assumed control of the property of Plaintiff and the Class by

denying their right to access of in-person instruction and on-campus services, technologies,

facilities, events, resources, and supplies during the Spring 2020 Semester for which their Spring

2020 Semester tuition and fees (Course Surcharges, Activity Fees, Payment Plan Deferment

Charge, and Health Fees) were intended to be applied towards.

       113.    Defendant’s retention of the fees paid by Plaintiff and the Class without providing

the in-person instruction and full application of its mandatory fees (Course Surcharges, Activity

Fees, Payment Plan Deferment Charge, and Health Fees), including on-campus services,

technologies, facilities, events, resources, and supplies during the Spring 2020 Semester for which

they paid deprived Plaintiff and the Class of the benefits for which the fees (Course Surcharges,

Activity Fees, Payment Plan Deferment Charge, and Health Fees) were paid. This conversion of

monies paid by Plaintiff and the Class damaged Plaintiff and the Class in that they paid fees for

services that were not and will not be provided.

       114.    Plaintiff and the Class are entitled to the return of prorated portion of their tuition

and fees paid for the Spring 2020 Semester for education services not provided since Bradley

closed its campus and moved in-person instruction to online only in March 2020.

                                        PRAYER FOR RELIEF

       115.    Plaintiff, individually and on behalf of the members of the Class, respectfully

requests that the Court enter judgment in their favor and against Defendants as follows:

       (a)     Certifying the Class under Rule 23 as requested herein, designating Plaintiff as class
               representative, and appointing the undersigned counsel as Class counsel;



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       (b)    Declaring that Defendant is financially responsible for notifying the Class of the
              pendency of this suit;

       (c)    Declaring that Defendant wrongfully kept the monies paid by the Class;

       (d)    Awarding injunctive relief as permitted by law and equity;

       (e)    Awarding Plaintiff’s reasonable attorney fees, costs, and expenses;

       (f)    Awarding pre- and post-judgment interest on any amounts awarded; and

       (g)    Awarding such other and further relief as the Court deems just and proper.

                                    JURY TRIAL DEMAND

       Plaintiff demands a trial by jury on all claims so triable.

Respectfully submitted July 14, 2020.

                                                      VARNELL & WARWICK, P.A.

                                                      s/ Matthew T. Peterson
                                                      Matthew T. Peterson, ARDC No. 6321290
                                                      Janet R. Varnell, pro hac vice forthcoming
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